                  UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE:        THE HONORABLE GARY S. KATZMANN, JUDGE
               THE HONORABLE TIMOTHY M. REIF, JUDGE
               THE HONORABLE JANE A. RESTANI, JUDGE
__________________________________________
                                             )
THE STATE OF OREGON, THE STATE OF            )
ARIZONA, THE STATE OF COLORADO,              )
THE STATE OF CONNECTICUT, THE                )
STATE OF DELAWARE, THE STATE OF              )
ILLINOIS, THE STATE OF MAINE, THE            )
STATE OF MINNESOTA, THE STATE OF             )
NEVADA, THE STATE OF NEW MEXICO,             )
THE STATE OF NEW YORK, and THE               )
STATE OF VERMONT,                            )
                                             )
       Plaintiffs,                           )  Court No. 25-00077
                                             )
               v.                            )
                                             )
DONALD J. TRUMP, in his capacity as          )
President of the United States;              )
DEPARTMENT OF HOMELAND                       )
SECURITY; KRISTI NOEM, in her official       )
capacity as Secretary of the Department of   )
Homeland Security; UNITED STATES             )
CUSTOMS AND BORDER PROTECTION;               )
PETER R. FLORES, in his official capacity as )
Acting Commissioner for U.S. Customs and     )
Border Protection; and THE UNITED            )
STATES,                                      )
                                             )
       Defendants.                           )
                                             )


                                             ORDER
          Upon consideration of plaintiffs’ motion for a preliminary injunction and summary

judgment, defendants’ response thereto, and all other pertinent papers, it is hereby

          ORDERED that plaintiffs’ motion for a preliminary injunction is DENIED, and it is

further

          ORDERED that plaintiffs’ motion for summary judgment is DENIED, and it is further
      ORDERED that judgment is entered in favor of defendants.



Dated:______________________                           ____________________________
       New York, New York                              JUDGE




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               UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE:        THE HONORABLE GARY S. KATZMANN, JUDGE
               THE HONORABLE TIMOTHY M. REIF, JUDGE
               THE HONORABLE JANE A. RESTANI, JUDGE
__________________________________________
                                             )
THE STATE OF OREGON, THE STATE OF            )
ARIZONA, THE STATE OF COLORADO,              )
THE STATE OF CONNECTICUT, THE                )
STATE OF DELAWARE, THE STATE OF              )
ILLINOIS, THE STATE OF MAINE, THE            )
STATE OF MINNESOTA, THE STATE OF             )
NEVADA, THE STATE OF NEW MEXICO,             )
THE STATE OF NEW YORK, and THE               )
STATE OF VERMONT,                            )
                                             )
       Plaintiffs,                           )  Court No. 25-00077
                                             )
               v.                            )
                                             )
DONALD J. TRUMP, in his capacity as          )
President of the United States;              )
DEPARTMENT OF HOMELAND                       )
SECURITY; KRISTI NOEM, in her official       )
capacity as Secretary of the Department of   )
Homeland Security; UNITED STATES             )
CUSTOMS AND BORDER PROTECTION;               )
PETER R. FLORES, in his official capacity as )
Acting Commissioner for U.S. Customs and     )
Border Protection; and THE UNITED            )
STATES,                                      )
                                             )
       Defendants.                           )
                                             )

             DEFENDANTS’ RESPONSE IN OPPOSITION TO
    MOTION FOR PRELIMINARY INJUNCTION AND SUMMARY JUDGMENT


                                     INTRODUCTION

      In a series of Executive Orders starting in February, the President has invoked his

authority under the International Emergency Economic Powers Act (IEEPA) to “regulate …
importation” by imposing tariffs on imports. Plaintiffs, several states, challenge the President’s

exercise of congressionally delegated and inherent authority to regulate importation during a

national emergency. They argue that regulating importation under IEEPA does not include the

power to impose tariffs. They also question the national emergencies that the President declared,

inviting second-guessing of the President’s judgment.

       The Court should reject those arguments and deny plaintiffs’ motions for a preliminary

injunction and summary judgment. For one, several plaintiffs lack standing to bring this lawsuit,

and so cannot obtain any relief. In any event, IEEPA’s text, purpose, and history authorize the

President to “regulate” importation during a national emergency by imposing tariffs. Despite

plaintiffs’ claim to the contrary, the major-questions doctrine does not undermine this clearly

established authorization. And plaintiffs’ alternative challenge to the merits of the President’s

emergency declaration is a nonjusticiable political question. To the extent courts can review the

fit between the actions of the President and the emergency, there is a reasonable relationship

between the tariffs imposed and the national emergencies.

       In addition, plaintiffs’ request for a permanent or preliminary injunction requires

plaintiffs to show additional elements—on irreparable harm, the balance of hardships, and the

public interest—that plaintiffs are unable to make. Accordingly, the Court should deny

plaintiffs’ motions.

                                        BACKGROUND

I.     The President’s Authority Under IEEPA To Regulate Importation During National
       Emergencies

       Before IEEPA, the Trading With the Enemy Act (TWEA), Pub. L. No. 65-91, 40 Stat.

411 (1917), authorized the President to “regulate… importation” of foreign goods during

wartime. Later, Congress expanded the authority to apply during times of peace as well. See



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First War Powers Act, Pub. L. No. 77-354, 55 Stat. 838, 839-40 (1941). In 1971, President

Nixon invoked TWEA’s importation regulation authority to impose tariffs during peacetime.

Proclamation 4074, 36 Fed. Reg. 15,724 (Aug. 17, 1971). Because a “prolonged decline in the

international monetary reserves” of the United States over a number of years had seriously

threatened its “international competitive position” and potentially impaired its ability to assure

national security, he “declared a national emergency with respect to the balance-of-payments

crisis and under that emergency imposed a surcharge on imports” and called upon the public and

private sector to “make the efforts necessary to strengthen the international economic position of

the United States.” H.R. Rep. No. 95-459, at 5 (1977); Proclamation 4074, 36 Fed. Reg. at

15,724. The Federal Circuit’s predecessor upheld the lawfulness of those tariffs, rejecting an

argument that TWEA did not authorize the President to impose tariffs. United States v. Yoshida

Int’l, Inc., 526 F.2d 560, 575-76 (C.C.P.A. 1975).

       Later, Congress modified the TWEA authority through two new laws: the National

Emergencies Act (NEA) and IEEPA. See H.R. Rep. No. 95-459, at 6-7. These changes are

discussed in greater depth the merits brief submitted by the United States in V.O.S. Selections,

Inc. v. Trump, No. 25-cv-00066, ECF No. 32 (Ct. Int’l Trade) (U.S. Br.) at 3. 1

       Recognizing that emergency declarations would be political questions, Congress gave

itself oversight authority over national-emergency declarations. National-emergency

declarations must be “immediately … transmitted to the Congress and published in the Federal

Register.” 50 U.S.C. §1621(a); see id. §1641(a)-(c). Congress is authorized to terminate a

national emergency by enacting a joint resolution into law. 50 U.S.C. §1622(a)(1). And



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  Because of the highly expedited briefing schedule of related issues, we incorporate by
reference portions of the Government’s merits brief in VOS in the present case, to avoid
repetition.


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Congress must meet within six months of the declaration of a national emergency to consider

terminating the emergency. 50 U.S.C. §1622(b). In addition, national-emergency declarations

automatically terminate after one year unless the President notifies Congress that the emergency

“continue[s].” Id. §1622(d).

       Second, IEEPA separated the President’s authority to act in wartime and peacetime.

Congress limited TWEA to apply only in periods of declared wars. See 50 U.S.C. §4302.

IEEPA then extended the President’s authority to periods of declared national emergencies

during peacetime. See Regan v. Wald, 468 U.S. 222, 227-28 (1984). The broad powers granted

to the President under IEEPA are “essentially the same as” those under its predecessor TWEA.

Id. Indeed, IEEPA’s operative language was “directly drawn” from TWEA. Dames & Moore v.

Regan, 453 U.S. 654, 671-72 (1981). IEEPA authorizes the President to exercise those powers

during peacetime, “to deal with any unusual and extraordinary threat, which has its source in

whole or substantial part outside the United States, to the national security, foreign policy, or

economy of the United States.” 50 U.S.C. §1701(a). Once the President declares a national

emergency relating to such a threat, IEEPA empowers the President to “regulate…

importation… with respect to any property, subject to the jurisdiction of the United States.” Id.

§1702(a)(1)(B). Unlike TWEA, IEEPA contains narrow exceptions to this broad grant of

authority. Among other things, the President cannot regulate or prohibit “the importation from

any country … of any information or informational materials ….” Id. §1702(b)(1)-(4). But none

of IEEPA’s exceptions involve the President’s authority to impose tariffs to deal with a declared

national emergency.

       Congress gave itself additional oversight authority over exercises of IEEPA powers

beyond that afforded by NEA. 50 U.S.C. §1703(d). The President “shall consult regularly with




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the Congress so long as [IEEPA] authorities are exercised.” Id. §1703(a). The President also is

directed to “immediately transmit to the Congress a report” on the national emergency, to be

updated every six months. Id. §1703(b)-(c). Even so, the Congress that enacted IEEPA

recognized that its “new authorities should be sufficiently broad and flexible to enable the

President to respond as appropriate and necessary to unforeseen contingencies.” H.R. Rep. No.

95-459, at 10. For instance, Congress rejected a proposal “that it place a definite time limit on

the duration of any state of national emergency.” Id.

II.    Factual Background
       A.      Mexico and Canada Executive Orders
       In January 2025, the President declared the flow of contraband drugs like fentanyl

through illicit distribution networks, and the resulting public-health crisis, to be a national

emergency. Proclamation 10886, 90 Fed. Reg. 8,327 (Jan. 29, 2025). On February 1, 2025, the

President found that the actions of Canada and Mexico contributed to this crisis. Executive

Order 14193, §1, 90 Fed. Reg. 9,113, 9,114 (Feb. 7, 2025); Executive Order 14194, §1, 90 Fed.

Reg. 9,117, 9,118 (Feb. 7, 2025).

       Using his broad powers under IEEPA, the President took action to deal with the unusual

and extraordinary threat to the United States’s national security, foreign policy, and economy,

ordering a 25 percent duty on most Canadian and Mexican imports (except for energy and

energy resources from Canada, which were assessed a 10- percent duty). Executive Order

14193, 90 Fed. Reg. at 9,114; Executive Order 14194, 90 Fed. Reg. at 9,118.

       On February 3, 2025, the President issued two Executive Orders, recognizing that Canada

and Mexico had taken immediate steps to alleviate their role in the emergency, but finding that

additional time was needed to assess those steps’ sufficiency and thus pausing most of the tariffs




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until March 4, 2025. Executive Order 14197, 90 Fed. Reg. 9,183 (Feb. 10, 2025); Executive

Order 14198, 90 Fed. Reg. 9,185 (Feb. 10, 2025).

       Shortly after that pause lapsed, the President issued two Executive Orders exempting all

Canadian and Mexican goods that qualify for duty-free entry under the United States-Mexico-

Canada Agreement (USMCA). Executive Order 14231, 90 Fed. Reg. 11,785 (Mar. 11, 2025);

Executive Order 14232, 90 Fed. Reg. 11,787 (Mar. 11, 2025). As a result, only goods imported

from Canada that are not USMCA-qualifying are subject to the tariffs imposed by Executive

Orders 14193 and 14194.

       B.      China Executive Orders
       On February 1, 2025, the President took additional action under IEEPA to address the

unusual and extraordinary threat from the People’s Republic of China (PRC), including the

PRC’s failures to stem the flow of contraband drugs to the United States. Executive Order

14195, 90 Fed. Reg. 9,121 (Feb. 7, 2025). To address the national emergency, the President

imposed a 10 percent ad valorem duty rate on most goods imported from the PRC and authorized

DHS to take any necessary actions to implement the order. Id. at 9,122-23. On March 3, 2025,

the President amended the order to increase the amount of duty to 20 percent. Executive Order

14228, 90 Fed. Reg. 11,463 (Mar. 7, 2025). The President also imposed duties on low-value

imports from China because “[m]any shippers based in the People’s Republic of China (PRC)

hide illicit substances and conceal the true contents of shipments sent to the United States

through deceptive shipping practices” and “often avoid detection due to the administration of the

de minimis exemption.” Executive Order 14256, 90 Fed. Reg. 14,899 (Apr. 7, 2025).).

       C.      Reciprocal Tariff Executive Orders

       On April 2, 2025, the President declared a separate national emergency, finding “that

underlying conditions, including a lack of reciprocity in our bilateral trade relationships,


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disparate tariff rates and non-tariff barriers, and U.S. trading partners’ economic policies that

suppress domestic wages and consumption, as indicated by large and persistent annual U.S.

goods trade deficits, constitute an unusual and extraordinary threat to the national security and

economy of the United States.” Executive Order 14257, 90 Fed. Reg. 15,041 (Apr. 7, 2025).

That threat, the President found, “has its source in whole or substantial part outside the United

States in the domestic economic policies of key trading partners and structural imbalances in the

global trading system.” Id.

       In particular, these “large and persistent annual U.S. goods trade deficits” have

“atrophied” our nation’s “domestic production capacity” to the point where, now, the United

States’ “military readiness” and “national security posture” are “comprise[d]”—an “especially

acute” emergency given “the recent rise in armed conflicts abroad.” Id. at 15,044-55. The

Executive Order explains that “[t]he future of American competitiveness depends on reversing”

the hemorrhage of manufacturing and manufacturing jobs to create “the industrial base” the

nation “needs for national security,” as well as safeguarding the vitality of the nation’s food and

agriculture sectors. Id. at 15,044.

       Using his broad powers under IEEPA, the President took action to deal with this unusual

and extraordinary threat to the United States’s national security and economy, and imposed a 10

percent duty on most imported goods. Id. at 15,045. These duties took effect on April 5, 2025,

with select countries having additional duties imposed on April 9. Id. Since the initial

declaration, the President has taken additional actions that he determined necessary to address

this national emergency, including raising the duty rate for Chinese products and pausing the

country-specific duties for 90 days for countries that took steps to negotiate and align with the

United States’s economic, national-security, and foreign-policy interests. Executive Order




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14266, 90 Fed. Reg. 15,625 (Apr. 15, 2025); Executive Order 14259, 90 Fed. Reg. 15,509 (Apr.

14, 2025). More recently, the additional tariffs imposed on China were “suspend[ed]” for 90

days “[i]n recognition of the intentions of the PRC to facilitate addressing the national

emergency declared in Executive Order 14257.” Executive Order of May 12, 2025, Modifying

Reciprocal Tariff Rates To Reflect Discussions With The People’s Republic of China,

https://perma.cc/FL69-4TJY.

       The 10 percent duty on most imported goods imposed on April 5, and the additional

country-specific duties starting on April 9, do not currently apply to Canadian or Mexican goods.

Executive Order 14257, 90 Fed. Reg. at 15,041 (Apr. 7, 2025). These executive orders have

opened discussions with trading partners on solutions that will strengthen our country. As

Executive Order 14266 explained, “more than 75 . . . foreign trading partners . . . have

approached the United States to address the lack of trade reciprocity in our economic

relationships and our resulting national and economic security concerns.” 90 Fed. Reg. at

15,625. “This is a significant step by these countries toward remedying non-reciprocal trade

arrangements and aligning sufficiently with the United States on economic and national security

matters.” Id.

       D.       Plaintiffs Sue To Enjoin The Executive Orders

       Plaintiffs, a group of states, filed their complaint on April 23, 2025, and moved for a

preliminary injunction on May 7. Compl, ECF No. 2; Mot., ECF No. 14. The Court later

entered an order construing the preliminary injunction motion “as a Motion for Summary

Judgment.” ECF No. 15. In their motion, plaintiffs argue that IEEPA “does not empower the

President to usurp Congress’s authority to impose tariffs,” that the trade deficit is not an




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“unusual” and “extraordinary” threat under IEEPA, and that the tariffs “do not ‘deal with’ any

threat President Trump has identified.” Mot. 12.

                              SUMMARY OF THE ARGUMENT

        This Court should deny plaintiffs’ motion for summary judgment and instead enter

judgment in favor of the Government. IEEPA authorizes the President to “regulate …

importation” of foreign goods. Binding authority interpreting identical text from IEEPA’s

predecessor statute holds that this term encompasses the power to impose tariffs on imported

goods. The major-questions doctrine does not change this conclusion. Congress delegates

authority to regulate importation and international commerce to the President, and the Federal

Circuit has recognized that statutes delegating power to the President in foreign affairs should be

read broadly. Nor do emergency tariffs under IEEPA undermine other congressional delegations

of tariff authority.

        Plaintiffs’ remaining merits arguments—challenging the validity of the President’s

declarations of national emergencies—are unreviewable and simply incorrect. Whether an

emergency is unusual or extraordinary is a judicially unreviewable political question. And even

if the Court could examine whether the President’s chosen means address the emergency (despite

Supreme Court precedent holding otherwise), the tariffs at issue easily survive that review.

Accordingly, the Court should deny plaintiffs’ motion and enter summary judgment for

defendants.

        The Court should also deny plaintiffs’ request for an injunction. See ECF No. 32.

Plaintiffs cannot establish actual success on the merits, for the same reasons defendants are

entitled to summary judgment in this action. Nor can plaintiffs establish irreparable harm, given

that they allege no more than speculative economic loss and, in any event, would have the




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possibility of a refund of any duties through the reliquidation of entries. Moreover, the equities

and public interest cut against enjoining a President from using his foreign-affairs powers to

protect the United States’ economy and national security. This is especially true where

injunctive relief threatens to disrupt the President’s negotiations on matters of foreign policy

with other countries.

                                   STANDARD OF REVIEW

       Summary judgment is appropriate where there are no genuine disputes as to any material

fact. USCIT R. 56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986); Mingus

Constructors, Inc. v. United States, 812 F.2d 1387, 1390 (Fed. Cir. 1987). Because this case

“hinges on pure questions of law,” there are no material factual disputes to resolve and

“resolution by summary judgment is appropriate.” Canadian Wheat Bd. v. United States, 580

F.Supp.2d 1350, 1356 (Ct. Int’l Trade 2008), aff’d, 641 F.3d 1344 (Fed. Cir. 2011). The Court

may grant summary judgment in favor of the nonmovant. USCIT R. 56(f)(1). 2

       “[A] preliminary injunction is an extraordinary and drastic remedy,” Mazurek v.

Armstrong, 520 U.S. 968, 972 (1997), “never awarded as of right,” Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 24 (2008). The movant must make a clear showing of all four factors:

“(1) likelihood of success on the merits, (2) irreparable harm absent immediate relief, (3) the


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  Plaintiffs filed a purported Statement of Undisputed Material Facts, ECF No. 32-1, but the
scope and standard of review for this action does not anticipate the proffering of material facts.
28 U.S.C. §2640(e) (incorporating the scope and standard of review from the Administrative
Procedure Act, 5 U.S.C. §706). In any event, plaintiffs themselves assert, “[t]he core issues in
this case are legal, not factual,” ECF No. 32, and, none of plaintiffs’ statements can be described
as material. As just one example, their conclusions that the tariffs “are unlikely to increase
domestic wages and consumption,” ECF No. 32 ¶ 3, “are arbitrary,” id. ¶ 4, and “are designed to
achieve ends unrelated to a national emergency,” id. ¶ 5, are plaintiffs’ immaterial conclusions
and characterizations. The President, not plaintiffs, determines whether a national emergency
exists and through what means to address such an emergency. Defendants otherwise respond to
plaintiffs’ purported “facts” as needed in the body of this brief.


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balance of interests weighing in favor of relief, and (4) that the injunction serves the public

interest.” Sumecht NA, Inc. v. United States, 923 F.3d 1340, 1345 (Fed. Cir. 2019) (quoting

Silfab Solar, Inc. v. United States, 892 F.3d 1340, 1345 (Fed. Cir. 2018)). Similar considerations

apply where a plaintiff seeks a permanent injunction. eBay Inc. v. MercExchange, L.L.C., 547

U.S. 388, 391 (2006).

                                            ARGUMENT

I.      The Non-Importer Plaintiffs Lack Article III Standing To Bring This Suit
        Judgment should be entered against plaintiffs who do not claim to be importers—here,

Delaware, Illinois, Maine, Minnesota, Nevada, New Mexico, New York, and Vermont. To have

standing, a plaintiff must prove it has “(1) suffered an injury in fact, (2) that is fairly traceable to

the challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable

judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016) (citing Lujan v. Defs. of

Wildlife, 504 U.S. 555, 560-61 (1992)).

        Plaintiffs allege that they are suffering “actual, ongoing, and imminent economic harm.”

Mot. 11. But, critically, only some plaintiff states say that any of their arms or instrumentalities

are importers of record. None of the other plaintiff states (Delaware, Illinois, Maine, Minnesota,

Nevada, New Mexico, New York, and Vermont) are importers who have personally paid tariffs;

rather, they are purchasers who allegedly paid increased costs to third party importers. While

importers have standing to challenge tariffs, purchasers of imported goods do not. “[P]urchasers

have no remedy to challenge [a] tariff classification.” Totes-Isotoner Corp. v. United States, 594

F.3d 1346, 1352 (Fed. Cir. 2010). This is because the requirements of traceability and

redressability are not satisfied where an injury “results from the independent action of some third

party not before the court,” such as an importer. Murthy v. Missouri, 603 U.S. 43, 57 (2024)

(citation omitted),. Thus, the non-importer states’ allegations of “increased cost” in the goods


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they purchase, Mot. 11, are not sufficient. Prices are set by independent private actors and

informed by multiple, complex market forces. Plaintiffs cannot reasonably infer that importers

will uniformly pass on not just these costs but also any savings (like duty refunds or post-tariff

price decreases) to consumers—let alone onto these specific plaintiffs. 3

       Indeed, this Court has held that plaintiffs lack standing where the requested relief would

require independent action by a non-party to the action. Ontario Forest Indus. Association v.

United States, 444 F.Supp.2d 1309, 1313 (Ct. Int’l Trade 2006) (holding that plaintiffs lacked

standing because the requested relief would require independent action by the Canadian

government—a party not before the Court); see Arjay Assocs., Inc v. Reagan, 707 F.Supp.1346,

1347 (Ct. Int’l Trade), aff’d, 891 F.2d 894 (Fed. Cir. 1989). Here, as in Ontario Forest, the non-

importer plaintiffs’ claims of redressability are based on future, independent action that their

third-party vendors might take. And that independent action—vendors lowering their prices—is

highly speculative even if the Court were to grant injunctive relief, as vendors may retain higher

prices for any number of reasons independent of tariffs. See Mot. 31-32 (discussing the

difficulty of connecting specific tariffs to the surcharges paid by plaintiffs). The Supreme Court

has also criticized States’ reliance on downstream harms for standing. United States v. Texas,

599 U.S. 670, 680 n.3 (2023).




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  Plaintiffs claim it is undisputed that the “IEEPA Tariffs are causing increases in prices of goods
and materials on which the States rely,” ECF No. 32-1 ¶13, but the very evidence on which they
rely for that statement refutes it. For example, plaintiffs say that vendors of certain Canadian
goods have “pass[ed] through the cost of the IEEPA Tariffs to the States,” id. ¶13(c), but no
IEEPA tariffs currently apply on these Canadian (i.e., USMCA-qualifying) goods. Executive
Order 14231, 90 Fed. Reg. at 11,785; Executive Order 14257, 90 Fed. Reg. at 15,046. And
plaintiffs themselves acknowledge that “[t]ariff costs that are passed through to the States by
vendors and importers of record are administratively infeasible to recover,” ECF No. 32-1 ¶14,
making it purely speculative that a favorable ruling would somehow cause those vendors and
importers to pass on their savings.


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       The cases plaintiffs cite are inapposite. Canadian Lumber Trade All. v. United States,

517 F.3d 1319, 1333 (Fed. Cir. 2008), employed the doctrine of “‘competitor standing,’ which

relies on economic logic to conclude that a plaintiff will likely suffer an injury-in-fact when the

government acts in a way that increases competition or aids the plaintiff’s competitors.” That

doctrine does not apply where plaintiffs have not shown that these tariffs (which are not unique

to them) are causing them competitive injury. Invenergy Renewables LLC v. United States, 422

F.Supp.3d 1255, 1273-74 (Ct. Int’l Trade 2019), is also inapposite. The plaintiffs there did not

rely solely on “economic harm,” but also raised valid claims of procedural harm that are

inapplicable here. Finally, Maryland v. Louisiana, 451 U.S. 725, 736-37 (1981), concluded that

states that purchased natural gas had standing to challenge a tax imposed on the gas pipelines—

but there, in sharp contrast to the circumstances here, state law “forb[ade] the Tax from being

passed on or back to any third party other than the purchaser of the gas,” “explicitly direct[ed]

that it should be considered as a cost of preparing the gas for market,” and had specifically been

passed on to the purchasing states with regulatory approval for the pass-through. Id. at 737. The

states’ boundless theory of purchaser standing bears no resemblance to that decision and

contravenes more recent precedent on state standing. Texas, 599 U.S. at 680 n.3.

II.    IEEPA Constitutionally Authorizes The President To Impose Tariffs, Including The
       Tariffs Contested Here

       A.      IEEPA Includes Tariff Authority

       The President imposed the challenged tariffs under the authority granted to him by IEEPA

to “regulate … importation” to deal with a national emergency. 50 U.S.C. §1702(a)(1)(B);

Executive Order 14257, 90 Fed. Reg. 15,041. IEEPA clearly authorizes the President to impose

tariffs—text, context, and history compel this conclusion.




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               1.      Text And Context

       IEEPA’s plain text authorizes the President to impose tariffs. When a national emergency

is declared:

               [T]he President may, under such regulations as he may prescribe, by
               means of instructions, licenses, or otherwise… investigate, block
               during the pendency of an investigation, regulate, direct and
               compel, nullify, void, prevent or prohibit, any acquisition, holding,
               withholding, use, transfer, withdrawal, transportation, importation
               or exportation of, or dealing in… any property in which any foreign
               country or a national thereof has any interest by any person, or with
               respect to any property, subject to the jurisdiction of the United
               States.
50 U.S.C. §1702(a)(1)(B) (emphases added). Imposing tariffs falls within the power to “regulate

… importation” of foreign goods. Id. Tariffs set the terms on which foreign goods enter the

United States. That is consistent with the definition of “regulate.” See Regulate, Black’s Law

Dictionary 1156 (5th ed. 1979) (“[F]ix, establish or control; to adjust by rule, method, or

established mode; to direct by rule or restriction; to subject to governing principles or laws”).

       Precedent confirms this straightforward reading of IEEPA’s language. Interpreting

identical relevant language in TWEA, the Federal Circuit’s predecessor upheld a tariff imposed

by President Nixon, explaining that the phrase “regulate importation” permitted the President to

“impos[e] an import duty surcharge.” Yoshida, 526 F.2d at 576; accord Alcan Sales v. United

States, 693 F.2d 1089, 1093 (Fed. Cir. 1982); United States v. Spawr Optical Rsch., Inc., 685

F.2d 1076, 1081 n.10 (9th Cir. 1982). That precedent’s holding continues to control. See S.

Corp. v. United States, 690 F.2d 1368, 1370 (Fed. Cir. 1982) (Federal Circuit adopting the

holdings of decisions of the Court of Customs and Patent Appeals (CCPA)). For a greater

discussion of IEEPA and tariff’s role in regulating commerce, see U.S. Br at 12-13.

       Statutory context reinforces this conclusion. The power to “regulate” imports by

imposing tariffs is similar to the other powers granted in IEEPA’s subsection (a)(1)(B), like the


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power to “block” the import of goods during an investigation, or the power to “prevent or

prohibit” those imports. Id. §1702(a)(1)(B). Each of these terms grants the President a

significant power over foreign commerce. And many partially or fully overlap, suggesting that

Congress entrusted the President with wide-ranging powers with respect to imports rather than

carefully picking and choosing isolated types of interventions. For example, the provision’s list

of powers includes two obvious pairs of belt-and-suspenders terms: “direct and compel” and

“prevent or prohibit.” Id. It confers the overlapping powers to “nullify” and “void” various

transactions. Id. Similarly, the power to “prevent or prohibit” imports could be used to “block”

imports during an investigation, but the statute goes out of its way to grant both powers. Id.

       Regardless, attempting to read section 1702(a)(1)(B)’s list as enumerating discrete

powers instead of providing broad Presidential authority would lead to the same conclusion

about “regulation.” If each power articulated in the list is distinct, then “regulation” of imports

must include actions such as tariffs; otherwise, it would mean little, if anything, other than the

power to “prevent or prohibit” imports—leaving the term largely superfluous. See, e.g., Pulsifer

v. United States, 601 U.S. 124, 141-43 (2024) (rejecting reading that would leave a provision

“without any operative significance”).

       Plaintiffs seek to narrow IEEPA’s plain text by pointing to statutes that use different

language to authorize the President to impose tariffs in certain circumstances. Mot. 15-17

(discussing the President’s powers under 19 U.S.C. §§1862, 2132, 2411, and 2251). Plaintiffs

are wrong: Congress used similarly broad language to permit imposition of tariffs in section 232.

See 19 U.S.C. §1862(c) (“adjust … imports”); Fed. Energy Admin. v. Algonquin SNG, Inc., 426

U.S. 548, 562 (1976) (Section 232’s “adjust … imports” means that “the President’s authority




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extends to the imposition of monetary exactions, i.e., license fees and duties.”). 4 Regardless, the

fact that Congress has elsewhere used narrower language to convey a non-emergency power says

little about the meaning of the broader language it used in TWEA or IEEPA. Nor does the

existence of a statute permitting the President to impose tariffs to address balance-of-payment

issues somehow narrow the scope of the later-enacted IEEPA. Mot. 16-17 (citing 19 U.S.C.

§2132). That earlier-enacted statute cannot narrow IEEPA; when statutes irreconcilably conflict,

it is the later enactment that prevails. See Maine Cmty. Health Options v. United States, 590

U.S. 296, 315-16 (2020). In any event, there is no conflict here. Section 2132 authorizes the

President to impose tariffs to address balance-of-payment issues before the issues reach the level

of an emergency; IEEPA provides broad emergency powers, including tariffs, to address a variety

of threats. Indeed, Yoshida already rejected the idea that statutes applicable in non-emergency

situations can narrow the powers available in an emergency. See 526 F.2d at 578 (“trade acts”

that do not involve “national emergency powers” did not narrow TWEA’s scope). 5



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         Furthermore, in both the Trade Expansion Act of 1962 and the Trade Act of 1974,
Congress defined the phrase “duty or other import restriction” as encompassing not only duties
but also “exaction[s] other than dut[ies]” that are “imposed for the regulation of imports.” 19
U.S.C. §1806(2); 19 U.S.C. §2481(2).
       5
          Yoshida’s footnote stating that “[a] surcharge imposed after Jan. 3, 1975 must, of
course, comply with the statute now governing such action,” did not limit the Court’s reasoned
analysis of the power conferred by “regulate … importation” in TWEA or contradict the Court’s
earlier explanation of the way IEEPA’s emergency powers mesh with other non-emergency tariff
powers. 526 F.2d at 578, 582 n.33. The footnote is better read as rejecting an argument that
Congress had disagreed with the lower court’s conclusion that TWEA did not confer tariff
authority. Id. (declining to “draw … conclusions, regarding the existence of [tariff] authority
… in 1971, from the specific grant of the surcharge authority spelled out in the Trade Act of
1974”). And regardless, the footnote at most speaks in dicta about the interaction between
Section 122 and TWEA (since Section 122 had not been enacted when President Nixon imposed
the tariffs at issue in Yoshida), and it certainly could not have spoken to the interaction between
Section 122 and IEEPA (since IEEPA was enacted only after Yoshida’s interpretation of the
language Congress borrowed). Moreover, reading the footnote to limit the President’s



                                                 16
       Nor does the passage of the Trade Act of 1974 limit Yoshida’s holding or the breadth of

IEEPA’s text. In July 1974, the trial court in Yoshida concluded that TWEA did not authorize

tariffs. Yoshida Int’l, Inc. v. United States, 378 F.Supp.1155 (Cust. Ct. 1974). In response,

Congress passed the Trade Act of 1974, which authorized the President to impose a limited

surcharge to address certain balance-of-payments issues. See S. Rep. No. 93-1298, at 88 (1974)

(enacting the Trade Act as “necessary … in the light of the recent decision by the United States

Customs Court,” despite Congress’s view that the President’s “authority” to impose import

surcharges was already “manifest”) (emphasis added)). But the CCPA’s decision reversing the

trial court and holding that “regulate importation” authorizes tariffs was issued after the

enactment of Section 122. Thus, in enacting Section 122, Congress ensured that, if the CCPA

did not reverse the trial court, the President would still have a mechanism to impose tariffs to

address a balance-of-payments deficit. And when Congress enacted IEEPA, the most recent

change in the landscape was Yoshida—not Section 122. Plaintiffs point to no history supporting

the notion that Congress enacted a non-emergency statute to strip the President’s authority to

impose tariffs in an emergency, and they fail to establish that the “legal background” against

which IEEPA was enacted permits departing from Yoshida.

               2.      History
       IEEPA’s history further confirms that it authorizes the President to impose tariffs.

“Congress is presumed to be aware of an administrative or judicial interpretation of a statute and

to adopt that interpretation when it re-enacts a statute without change.” Lorillard v. Pons, 434



emergency authority would make Yoshida internally inconsistent because elsewhere the court
made clear that “[t]he existence of limited authority under certain trade acts does not preclude
the execution of other, broader authority under a national emergency powers act,” and that it is
“unreasonable” to read TWEA (and thus IEEPA) to require the Executive to “follow limiting
procedures prescribed in other acts designed for continuing use during normal times” in order to
deal with an emergency. Id. at 578.


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U.S. 575, 580 (1978); see Tex. Dep’t of Housing & Comm. Affairs v. Inclusive Comms. Project,

Inc., 576 U.S. 519, 536 (2015); Forest Grove Sch. Dist. v. T.A., 557 U.S. 230, 243 n.11 (2009).

Congress drew the relevant language directly from TWEA, and it did so after the CCPA

interpreted that identical language to permit the President to impose tariffs in 1975. During the

legislative process for IEEPA, Congress was well aware of the relevant language and the court’s

decision interpreting the language to authorize the President to impose tariffs but chose to keep

the language when it enacted IEEPA in 1977, as discussed in U.S. Br. at 19-20.

       Plaintiffs read this history backwards. They argue that Congress passed IEEPA to take

away power previously asserted by the President. Mot. 16. But Congress limited the President’s

power by including specific procedural directives and delineating specific exceptions to the

otherwise broad grant of authority under IEEPA—none of which curtailed the President’s

authority to impose tariffs to deal with a declared national emergency. Congress knew that

TWEA had been used to impose tariffs, yet it chose to use the same language that had conferred

such authority, without modifying it or expressly precluding their imposition. See 50 U.S.C.

§1702(b) (listing “Exceptions to Grant of Authority,” none of which involve imposing tariffs).

Moreover, as explained below, Congress has repeatedly declined to revoke the President’s

authority to impose tariffs under IEEPA. And plaintiffs’ theory would mean that TWEA itself

does not authorize the President in times of war to impose tariffs, as TWEA still has the same

relevant language plaintiffs claim does not authorize the President to impose tariffs under

IEEPA. 50 U.S.C. §4305(b)(1)(B); see Yellen v. Confederated Tribes of Chehalis Rsrv., 594

U.S. 338, 360 (2021) (rejecting interpretation that would have a “highly counterintuitive result”).

In other words, plaintiffs effectively ask the Court to overturn Yoshida’s holding interpreting

“regulate importation” in TWEA to authorize imposing tariffs.




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               3.      Purpose

       Finally, IEEPA’s evident purpose confirms that it includes the power to impose tariffs.

The purpose of emergency statutes, like IEEPA, is to give the President broad and flexible

powers to effectively address problems associated with a national emergency. “[T]he primary

implication of an emergency power is that it should be effective to deal with a national

emergency successfully.” Yoshida, 526 F.2d at 573. “The delegation in [TWEA] is broad and

extensive; it could not have been otherwise if the President were to have, within constitutional

boundaries, the flexibility required to meet problems surrounding a national emergency with the

success desired by Congress.” Id. Indeed, “the legislative history of [IEEPA] notes that the

authorities available to the President should be sufficiently broad and flexible to enable the

President to respond as appropriate and necessary to unforeseen contingencies.” Legal

Authorities Available to the President to Respond to a Severe Energy Supply Interruption or

Other Substantial Reduction in Available Petroleum Prods., 6 U.S. Op. Off. Legal Counsel 644,

681 (1982). Interpreting IEEPA to include the power to impose tariffs furthers Congress’s

purpose to give the President the necessary tools and flexibility to effectively handle national

emergencies.

       Especially in this context. “[S]tatutes granting the President authority to act in matters

touching on foreign affairs are to be broadly construed.” B-West Imports, Inc. v. United States,

75 F.3d 633, 636 (Fed. Cir. 1996). Indeed, in foreign affairs, “broad grants by Congress of

discretion to the Executive are common.” Florsheim Shoe Co. v. United States, 744 F.2d 787,

795 (Fed. Cir. 1984). IEEPA “is intimately involved with foreign affairs, an area in which

congressional authorizations of presidential power should be given a broad construction and not

hemmed in or cabined, cribbed, confined by anxious judicial blinders.” Id. at 793 (cleaned up).

When foreign affairs and national security are involved, “the President plays a dominant role,”


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and “it is generally assumed that Congress does not set out to tie the President’s hands; if it

wishes to, it must say so in clear language.” Humane Soc. of U.S. v. Clinton, 236 F.3d 1320,

1329 (Fed. Cir. 2001). Plaintiffs cannot point to clear language cabining the President’s

authority. Just the opposite—text, history, and context all show that IEEPA authorizes the

President to impose tariffs.

       Plaintiffs seek a narrower reading by invoking constitutional avoidance. Mot. 19. That

argument fails for the reasons discussed in ECF No. 27 at 10.

               4.      The Major-Questions Doctrine
       In plaintiffs’ view, the Court should not presume that Congress delegated authority to the

President because of the “vast economic and political significance” of the tariffs. Mot. 18. But

the major-questions doctrine does not apply here and, even if it did, it would not help plaintiffs.

“Where the statute at issue is one that confers authority upon an administrative agency … there

are extraordinary cases that … provide a reason to hesitate before concluding that Congress

meant to confer such authority.” West Virginia v. EPA, 597 U.S. 697, 721 (2022) (cleaned up). In

such cases, under the major-questions doctrine, the agency “must point to clear congressional

authorization” for the proposed regulation.” Id. at 723.

       At the threshold, the major-questions doctrine does not apply because “the statute at

issue” does not “confer[] authority upon an administrative agency.” Id. at 721. It confers

authority on the President. The Supreme Court has never applied the major-questions doctrine

to a statute delegating power to the President. It has instead described the doctrine as applicable

to statutes giving authority to agencies. “[T]he major questions doctrine label … took hold

because it refers to an identifiable body of law that has developed over a series of significant

cases all addressing a particular and recurring problem: agencies asserting highly consequential

power beyond what Congress could reasonably be understood to have granted.” Id. at 724


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(cleaned up) (emphasis added). Unlike the President, agencies lack political accountability. See

NFIB v. Dep’t of Lab., 595 U.S. 109, 125 (2022) (Gorsuch, J., concurring) (allowing Congress to

“hand off all its legislative powers to unelected agency officials” would replace “government by

the people” with “government by bureaucracy”). No political-accountability justification

applies here, where “the Framers made the President the most democratic and politically

accountable official in Government,” Seila Law LLC v. CFPB, 591 U.S. 197, 224 (2020), and

the President directs an action in an executive order.

       And the President’s overlapping powers in the national-security and foreign-affairs realm

diminish any concerns of unauthorized overreach. The President’s “authority is at its

maximum” when he acts pursuant to the “authorization of Congress,” and in those

circumstances he “may be said” to “personify the federal sovereignty.” Youngstown Sheet &

Tube Co. v. Sawyer, 343 U.S. 579, 635-36 (1952) (Jackson, J., concurring in the judgment). A

unanimous panel of the Ninth Circuit has recognized that “[t]he Major Questions Doctrine is

motivated by skepticism of agency interpretations” and “does not apply to Presidential actions.”

Mayes v. Biden, 67 F.4th 921, 933, 934 (9th Cir. 2023), vacated as moot by 89 F.4th 1186

(Mem.) (9th Cir. 2023). See ECF No. 27 at 10-13 (discussing further why the doctrine is

inapplicable to the President).

       Similarly, the major-questions doctrine does not apply to national-security and foreign-

policy matters. A major-questions approach treats a decision with a “measure of skepticism.”

Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014). That approach is irreconcilable with

longstanding precedent compelling the opposite approach in these contexts. See, e.g., Trump v.

Hawaii, 585 U.S. 667, 686 (2018) (acknowledging “the deference traditionally accorded the

President” on these matters); Dep’t of Navy v. Egan, 484 U.S. 518, 529-30 (1988) (recounting the




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“utmost deference to Presidential responsibilities” that courts have “traditionally shown” in these

matters); B-West Imports, 75 F.3d at 636. So, in this area, unlike in cases where courts have

taken a major-questions approach, there is no “reason to hesitate before concluding that Congress

meant to confer” significant authority to regulate foreign commerce on the President. West

Virginia, 597 U.S. at 721 (cleaned up).

       Even if the major-questions doctrine were not categorically inapplicable, plaintiffs press

no persuasive argument that it would apply to the challenged tariffs. The Supreme Court has

identified several traits of regulatory action that, in combination, implicate the major-questions

doctrine when an agency takes a sufficiently significant action. No one doubts the significance

of the challenged tariffs, but significance alone is not enough; otherwise, the doctrine would

apply to countless government actions, including every emergency statute. None of the

remaining indicia of major questions—let alone an adequate combination—are present here.

       Plaintiffs point to the CDC’s eviction moratorium, which presented a major question

when the CDC attempted to transform its regulatory power by acting far outside its typical

expertise based on a catch-all phrase in a statute. Mot. 18-19 (citing Ala. Ass’n of Realtors v.

HHS, 594 U.S. 758, 766 (2021)). But this comparison is irrelevant for the same reasons as

discussed at U.S. Br. at 23.

       Nor is the President’s use of IEEPA an exercise of “unheralded power,” especially given

the President’s exercise of his tariff power under materially identical language in IEEPA’s

predecessor statute. West Virginia, 597 U.S. at 724. The President’s exercise of his power under

materially identical language in IEEPA’s predecessor statute means the challenged action is far

from “unheralded.” Id. Likewise, the President’s challenged actions accord with a robust history

of similar exercises of power under IEEPA to achieve foreign-policy objectives by regulating




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imports and exports—often with even more serious measures like total or near-total embargoes.

See, e.g., Executive Order 13873, Securing the Information and Communications Technology

Services Supply Chain, 84 Fed. Reg. 22,689 (May 15, 2019) (invoking IEEPA to bar the

“importation … of any information and communications technology” that was “designed,

developed, manufactured, or supplied, by persons owned by, controlled by, or subject to the

jurisdiction or direction of a foreign adversary”); Executive Order 12959, Prohibiting Certain

Transactions With Respect to Iran, 60 Fed. Reg. 24,757 (May 9, 1995) (invoking IEEPA to bar

“the importation into the United States or the financing of such importation of any goods or

services of Iranian origin,” with certain exceptions); Cong. Rsch. Serv., The International

Emergency Economic Powers Act: Origins, Evolution, and Use, R45618 at 58-62 (Jan. 30, 2024)

(collecting dozens of similar uses of IEEPA to regulate imports and exports, with one or more in

nearly every year since 1979).

           IEEPA’s authorization of the President to regulate imports in an emergency is not a catch-

all clause; nor is it an example of “modest words” or an “ancillary provision” of the statute. West

Virginia, 597 U.S. at 723-24; see Amicus Br. 23-24 (making a similar argument based on NFIB,

595 U.S. at 109). Just the opposite: the power is conferred as one of the enumerated terms in a

list of powers making up one of the statute’s principal provisions, and that term straightforwardly

grants the President broad, consequential powers over foreign commerce to deal with broad,

consequential problems facing the country. Section 1702(a)(1)(B), by including authorization

for the President to “regulate … importation,” could never be mistaken for a mousehole—

especially when Congress expressly acknowledged that the court with exclusive jurisdiction over

the matter had just conclusively interpreted that language to authorize the President to impose

tariffs.




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       Plaintiffs point out Congress’s authorization of the President to impose tariffs in other

statutes, Mot. 16-17, but they fail to realize that those statutes cut against their argument. Those

statutes only prove that it is not surprising that Congress would delegate tariff authority to the

President—the basic thrust of the major-questions inquiry. See FDA v. Brown & Williamson

Tobacco Corp., 529 U.S. 120, 160 (2000) (looking to evidence of “Congress’[s] consistent

judgment to deny the” power being exercised); West Virginia, 597 U.S. at 724 (agency adopted

“a regulatory program that Congress had conspicuously and repeatedly declined to enact itself.”).

Here, Congress has repeatedly conferred tariff power on the President and—more specifically—

has repeatedly considered and decided not to revoke the President’s power to impose tariffs

under IEEPA. See, e.g., Global Trade Accountability Act, S. 1060, 118th Cong., 1st sess., March

29, 2023; Protecting Our Democracy Act, S. 2921, 117th Cong., 1st sess., September 30, 2021;

Reclaiming Congressional Trade Authority Act of 2019, S. 899, 116th Cong., 1st sess., March

27, 2019.

       Nor does the existence of these other statutes (or Congress’s constitutional authority to

impose tariffs) suggest that IEEPA should be read narrowly despite its plain text. The Supreme

Court rejected essentially the same argument in Hawaii. There, relying on 8 U.S.C. §1182(f)’s

broad delegation of power to “suspend the entry of … any class of aliens” whose entry the

President determines “would be detrimental to the interests of the United States,” the President

issued a Proclamation “prevent[ing] the entry of those foreign nationals about whom the United

States Government lacks sufficient information,” among others. Id. at 679; see U.S. Const. art. I,

§8, cl. 4 (granting Congress power to “establish a uniform Rule of Naturalization”). The

plaintiffs argued that the President, in relying on §1182(f), “supplant[ed]” two more-specific

statutes addressing “the problem of aliens seeking entry from countries that do not share




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sufficient information with the United States,” requiring a narrow reading of §1182(f). Id. at

688-89. The Court rejected that argument. There was no “conflict between the statute and the

Proclamation that would implicitly bar the President from addressing deficiencies in the Nation’s

vetting system.” Id. at 689. The more specific statutes did not “require that systemic problems

such as the lack of reliable information be addressed only in a progression of case-by-case

admissibility determinations.” Id. at 689-90. And “[o]ne of the key objectives of the

Proclamation [was] to encourage foreign governments to improve their practices, thus facilitating

the Government’s vetting process overall.” Id. at 690.

       The same is true here. The Trade Act of 1974, the Trade Expansion Act of 1962, and the

antidumping and countervailing duty laws, none of which are predicated on a finding of a

national emergency, address the specific situations of balance-of-payment problems, injuries to

domestic industries, unfair trade practices, and impairment of national security. But those

statutes do not “require that” the “systemic problems” that the President identified in the

challenged Executive Orders be addressed through “case-by-case”—for instance, product-,

industry-, or trade-practice-specific—application of these non-emergency statutes. Hawaii, 585

U.S. at 689-90. And one of the objectives of the President’s actions here is likewise “to

encourage foreign governments to improve their practices,” which has the benefit of enhancing,

not supplanting, enforcement of statutes like Section 301 and the antidumping and countervailing

duty laws. Id. at 690.

       The President’s use of the emergency authorities that IEEPA provides, in short, coexists

with enforcement of existing non-emergency trade laws. For example, the imposition of tariffs

under IEEPA has not stopped the U.S. Trade Representative from addressing unfair trade

practices on a non-emergency basis under Section 301. Proposed Action in Section 301




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Investigation of China’s Targeting of the Maritime, Logistics, and Shipbuilding Sectors for

Dominance, 90 Fed. Reg. 10,843 (USTR Feb. 27, 2025). IEEPA has not supplanted the use of

Section 232 to impose duties to adjust the importation of specific products to protect national

security, either. E.g., Proclamation 10896, Adjusting Imports of Steel Into the United States, 90

Fed. Reg. 9,817 (Feb. 18, 2025); Proclamation 10908, Adjusting Imports of Automobiles and

Automobile Parts Into the United States, 90 Fed. Reg. 14,705 (Mar. 26, 2025) Nor has IEEPA

slowed the work of the U.S. International Trade Commission under the antidumping and

countervailing duty laws in determining whether imports of certain products of particular

countries are threatening domestic industries. E. .g., Inv. No. 731-TA-1739 (Preliminary),

Fiberglass Door Panels from China. Given the existence of all of these concurrent

investigations and actions under other delegated authorities to deal with non-emergency

situations, it is difficult to see how IEEPA is the trade-statute-supplanting authority that plaintiffs

make it out to be. Though IEEPA “overlap[s] with the traditional framework of trade legislation,

it is not controlling that some of the same considerations are involved.” Yoshida, 526 F.2d at

578; Hawaii, 585 U.S. at 689-90.

       Applying the major-questions doctrine would also conflict with the strong presumption

that when Congress uses broad language in a delegation to the President in the foreign-affairs

and national-security context, courts give the statute “a broad construction.” Florsheim, 744

F.2d at 793; see, e.g., Marshall Field & Co. v. Clark, 143 U.S. 649, 691 (1892) (“[I]n the

judgment of the legislative branch of the government, it is often desirable, if not essential for the

protection of the interests of our people … to invest the [P]resident with large discretion in

matters arising out of the execution of statutes relating to trade and commerce with other

nations.”); United States v. Curtiss-Wright Export Corp., 299 U.S. 304, 312 (1936); seeMaple




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Leaf Fish Co. v. United States, 762 F.2d 86, 89 (Fed. Cir. 1985) (because case involves the

President’s authority, the court’s review is limited to whether the case involves a “clear

misconstruction” of IEEPA). “If Congress desires to eliminate these tariffs or to cabin the

President’s authority, that is a matter for Congress to address in future legislation, not a matter

for this court.” Silfab, 892 F.3d at 1349.

       Finally, the major-questions doctrine compares the text of the statute to the power

exercised. The doctrine is more likely to apply when the power exercised amounts to “a

fundamental revision of the statute, changing it from one sort of scheme of regulation into an

entirely different kind,” Biden v. Nebraska, 600 U.S. 477, 502 (2023) (cleaned up)—or, put

differently, whether the power goes “beyond what Congress could reasonably be understood to

have granted,” West Virginia, 597 U.S. at 724. These considerations are largely accounted for

already. But to sum up: IEEPA unambiguously confers far-reaching powers over foreign trade,

the President has repeatedly exercised his powers under IEEPA in comparable actions and

contexts, and the powers conferred upon and exercised by the President fall within his core

competencies of national security and foreign relations. The President’s latest step, exercising

tariff authority, is predictable and precedented, not transformational or surprising. The major-

questions doctrine is not implicated here.

       Even if it were, the Executive Orders would still be supported by the “clear congressional

authorization for the power” they exercised to impose and modify tariffs in response to unfair

foreign trade practices. West Virginia, 597 U.S. at 723. The major-questions doctrine provides

no basis to invalidate an action where the statute “specifically authorizes the [agency] to make

decisions like th[e] one” under review. United States v. White, 97 F.4th 532, 540 (7th Cir. 2024).

That remains true, plaintiffs’ denial notwithstanding, see Mot. 18-19, when the authorization is




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couched in clear but broad language. See Florida v. HHS, 19 F.4th 1271, 1288 (11th Cir. 2021)

(major-questions doctrine did not apply because “a broad grant of authority” that “plainly

encompasses the [agency’s] actions… does not require an indication that specific activities are

permitted”); Nebraska, 600 U.S. at 511 (Barrett, J., concurring) (unlike true “clear-statement”

rules, major-questions doctrine does not require “an ‘unequivocal declaration’ from Congress

authorizing the precise agency action under review”); West Virginia, 597 U.S. at 723 (“something

more than a merely plausible textual basis for the agency action is necessary” (emphasis added)).

Indeed, the Ninth Circuit has found the relevant language here to be “unambiguous” and to

“clearly show[] that the President’s actions [imposing tariffs] were in accordance with the power

Congress delegated.” Spawr Optical, 685 F.2d at 1081 n.10 (emphases added). 6

II.    The National Emergency Is A Political Question And Valid If Subject To Review

       A.      There Are No Judicially Manageable Standards For Whether A Threat Is
               “Unusual Or Extraordinary” Under IEEPA
       Plaintiffs argue that IEEPA, even if it authorizes tariffs in some circumstances, does not

authorize the tariffs challenged here because plaintiffs disagree with the merits of the President’s

declared emergency. Mot. 20-21. But whether a threat is unusual or extraordinary is reviewable

only by Congress, not by the courts.

       Plaintiffs concede that this Court cannot review the President’s declaration of a national

emergency, as they must. Mot. 21 (“the States are not challenging the President’s declaration of

an emergency under the National Emergencies Act”). “[N]o court has ever reviewed the merits

of such a declaration.” Ctr. for Biological Diversity v. Trump, 453 F.Supp.3d 11, 31 (D.D.C.

2020). For good reason: reviewing the President’s emergency declaration would require



6
 Plaintiffs rightly do not raise a non-delegation argument, as there is no constitutional issue with
Congress’s delegation of tariff authority to the President in IEEPA.


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“examin[ing] the President’s motives and justifications for declaring a national emergency” and

the President’s factfinding—something the Federal Circuit has said “would likely present a

nonjusticiable political question.” Chang v. United States, 859 F.2d 893, 896 n.3 (Fed. Cir. 1988)

(IEEPA); see, e.g., Yoshida, 526 F.2d at 579, 581 n.32 (“courts will not review the bona fides of

a declaration of an emergency by the President”); United States v. Shih, 73 F.4th 1077, 1092 (9th

Cir. 2023)) (refusing to review declaration of emergency under IEEPA). Indeed, the Federal

Circuit, following the Supreme Court’s lead, has repeatedly concluded that the President’s

“motives, his reasoning, his finding of facts requiring the action, and his judgment, are immune

from judicial scrutiny.” Florsheim, 744 F.2d at 796; see, e.g., Am. Ass’n of Exporters &

Importers-Textile & Apparel Grp. v. United States, 751 F.2d 1239, 1248 (Fed. Cir. 1985); Maple

Leaf, 762 F.2d at 89 same); Humane., 236 F.3d at 1330; United States v. Bush & Co., 310 U.S.

371, 380 (1940) (“For the judiciary to probe the reasoning which underlies this Proclamation

would amount to a clear invasion of the legislative and executive domains.”).

       Plaintiffs instead say the Court should probe whether the President properly found that

there was an “unusual and extraordinary threat,” 50 U.S.C. §1701(a), justifying the emergency

declaration. But that is a textbook political question. The seminal political-question case, Baker

v. Carr, identified six different ways a case could present a nonjusticiable political question:

Nonjusticiable political questions arise where there is:

               a textually demonstrable constitutional commitment of the issue to
               a coordinate political department; or a lack of judicially
               discoverable and manageable standards for resolving it; or the
               impossibility of deciding without an initial policy determination of
               a kind clearly for nonjudicial discretion; or the impossibility of a
               court’s undertaking independent resolution without expressing lack
               of the respect due coordinate branches of government; or an unusual
               need for unquestioning adherence to a political decision already
               made; or the potentiality of embarrassment from multifarious
               pronouncements by various departments on one question.



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369 U.S. 186, 217 (1962). The question that plaintiffs seek judicial resolution of fits within

multiple of Baker’s categories. Most obviously, there is a profound “lack of judicially

discoverable and manageable standards for resolving” the validity of the President’s threat

assessment. Id. As one court explained:

               [T]o address the claim that Nicaragua does not pose an unusual and
               extraordinary threat to the United States … would require the court
               to assess the wisdom of the President’s judgment concerning the
               nature and extent of that threat, a matter not susceptible to judicially
               manageable standards. How, for example, is the court to determine
               whether Nicaragua poses more than an ordinary or usual threat?
               How is a court to resolve disputed issues of fact concerning the
               situation in Nicaragua? The court simply lacks the resources and
               expertise to address these questions. Nor could it resolve such
               questions without making its own policy judgments about national
               security and foreign policy, judgments best left to the political
               branches         of           the         federal         government.

Beacon Prods. Corp. v. Reagan, 633 F.Supp.1191, 1194-95 (D. Mass. 1986), aff’d, 814 F.2d 1

(1st Cir. 1987). The Federal Circuit has signaled agreement with Beacon Products that “whether

[a certain circumstance] poses a sufficient threat to trigger the President’s IEEPA powers is a

nonjusticiable political question.” Chang, 859 F.2d at 896 n.3. And the Supreme Court has

concluded, in a different context, that whether the Executive correctly determined that “nationals

of a particular country [are] a special threat” is unreviewable because the courts are “utterly

unable to assess their adequacy.” Reno v. Am.-Arab Anti-Discrimination Comm., 525 U.S. 471,

491 (1999) (emphasis added); see Japan Whaling Ass’n v. Am. Cetacean Soc., 478 U.S. 221, 230

(1986) (“[C]ourts are fundamentally underequipped to formulate national policies or develop

standards for matters not legal in nature.”).

       Tellingly, plaintiffs do not even try to provide a “‘clear, manageable, and politically

neutral’” standard that to identify a threat, let alone one that “can reliably differentiate” unusual



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and extraordinary threats from usual and ordinary ones. Rucho v. Common Cause, 588 U.S. 684,

703-04 (2019). That showcases that this is a political question. The Federal Circuit in the

international-trade space has held that a President’s determination of whether something

constitutes a national-security threat is unreviewable. See USP Holdings, Inc. v. United States,

36 F.4th 1359, 1369 (Fed. Cir. 2022); PrimeSource Bldg. Prods., Inc. v. United States, 59 F.4th

1255, 1263 (Fed. Cir. 2023) (similar); cf., e.g., People’s Mojahedin Org. of Iran v. U.S. Dep’t of

State, 182 F.3d 17, 23 (D.C. Cir. 1999) (whether an organization’s activity “threatens … the

national security of the United States” is “nonjusticiable”); El-Shifa Pharm. Indus. Co. v. United

States, 607 F.3d 836, 843 (D.C. Cir. 2010) (same). If courts cannot review national-security

threat assessments, they certainly cannot compare those assessments to determine whether a

particular threat is “unusual” or “extraordinary.” 7

       Similarly, the matter is nonjusticiable because it is “impossib[le] [to] decid[e] without an

initial policy determination of a kind clearly for nonjudicial discretion.” Baker, 369 U.S. at 217.

The underlying merits of the emergency declaration, just like the choice to impose tariffs as a

remedy and the particular formulas used to impose those tariffs, “revolve around policy choices

and value determinations constitutionally committed for resolution to the halls of Congress or the

confines of the Executive Branch,” Japan Whaling, 478 U.S. at 230. The President’s “motives,

his reasoning, his finding of facts requiring the action, and his judgment, are immune from

judicial scrutiny.” Florsheim, 744 F.2d at 796; see Hawaii, 585 U.S. at 708 (“[W]e cannot




7
  That the “unusual and extraordinary” threat determination is made by the President and
revolves around foreign affairs and national security clearly distinguishes this statute from other
circumstances in which courts assess standards that involve some similar words in radically
different contexts well within the judiciary’s core competencies. See Mot. 21 (discussing
“unusual” in the Eighth Amendment context, for example).


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substitute our own assessment for the Executive’s predictive judgments on such matters, all of

which are delicate, complex, and involve large elements of prophecy.”).

       None of this means that the President’s emergency declarations go unreviewed. Indeed,

Baker recognizes political questions arise where there is “a textually demonstrable constitutional

commitment of the issue to a coordinate political department” or potential “embarrassment from

multifarious pronouncements by various departments on one question.” 369 U.S. at 217. Here,

as with many emergency statutes, the President “is necessarily constituted the judge of the

existence of the exigency in the first instance, and is bound to act according to his belief of the

facts.” Martin v. Mott, 25 U.S. 19, 31 (1827); see Sardino v. Fed. Res. Bank of New York, 361

F.2d 106, 109 (2d Cir. 1966) (regarding President Nixon’s declaration of a national emergency,

emphasizing that “the courts will not review a determination so peculiarly within the province of

the chief executive”). After that, Congress designated itself—not the judiciary—as the body to

supervise emergency declarations and the adequacy of the President’s response. See 50 U.S.C.

§1622(c) (creating fast-tracked procedures for review and disapproval of emergency

declarations); United States v. Amirnazmi, 645 F.3d 564, 577 (3d Cir. 2011) (in IEEPA,

“Congress reaffirmed its essential legislative function, and struck a careful balance”). Congress

in the NEA and IEEPA “place[d] the onus on Congress to ensure emergency situations remain

anomalous and do not quietly evolve into default norms.” Id. at 581. And rightly so: “the issue

of national security is a quintessential source of political questions.” Lee v. Garland, 120 F.4th

880, 890-91 (D.C. Cir. 2024) (cleaned up).

       The Supreme Court’s decision in INS v. Chadha, 462 U.S. 919 (1983), holding

concurrent resolutions unconstitutional, does not affect the analysis. That is because Congress

doubled down on its exclusive role in reviewing emergencies and threat assessments by




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amending the NEA post-Chadha to provide for joint resolutions to terminate national

emergencies. 99 Stat. 407, 448; see Beacon Prods. Corp. v. Reagan, 814 F.2d 1, 3 (1st Cir.

1987) (discussing this amendment). This process has worked as intended, with Congress

terminating the national emergency relating to the COVID-19 pandemic in 2023. 137 Stat. 6;

see S.J. Res. 37, 119th Congress (2025). Any challenge to the fact of the emergency itself—

particularly plaintiffs’ claim that the emergency is not “unusual” or “extraordinary” enough—is a

nonjusticiable political question.

       Historical practice confirms that the President’s determination that a threat is unusual and

extraordinary is unreviewable. Presidents have declared national emergencies and deemed

threats to be unusual and extraordinary without significant explanation that could enable judicial

review. In fact, Presidents have repeatedly done so in a single sentence. See, e.g., Exec. Power

with Regard to the Libyan Situation, 5 U.S. Op. Off. Legal Counsel 432, 434 (1981); Executive

Order 12513; Executive Order 12543; Executive Order 12635; Executive Order 12722;

Executive Order 12735; Executive Order 12775. Congress has likewise stipulated that certain

circumstances satisfy IEEPA’s unusual-and-extraordinary-threat requirement in a single

sentence. See, e.g., Pub. L. No. 99-529, 100 Stat. 3010 (Oct. 24, 1986). Under plaintiffs’ theory,

these single-sentence findings are reviewable even though there is no detail to review.

       Plaintiffs’ opinions on economic theory, Mot. 23, merely reinforce why that must be the

case. Plaintiffs claim that persistent trade deficits are not “extraordinary threats.” 8 But whether

that is so is precisely the sort of judgment committed to the political branches of government.




8
 Plaintiffs make no structured argument contending that the Mexico, Canada, and China Orders
do not involve unusual and extraordinary threats to the national security, foreign policy, or
economy of the United States. Mot. 25-27. That argument is thus forfeited. See, e.g., SmithKline
Beecham Corp. v. Apotex Corp., 439 F.3d 1312, 1319-20 (Fed. Cir. 2006).


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“How, for example, is the court to determine whether” the effects of persistent trade deficits on

the United States’ national security posture “pose[] more than an ordinary or usual threat?”

Beacon Prods., 63 F.Supp. at 1195. The question is not fit for judicial resolution, but is for the

political branches to resolve. Indeed, the tariffs at issue are presently being debated in Congress,

as designed under IEEPA’s legislative-review component. See Joint Resolution, S.J. Res. 49,

119th Cong. (2025) (49-49 failed vote on resolution terminating the national emergency the

President declared in Executive Order 14257); Joint Resolution, S.J. Res. 37, 119th Cong. (2025)

(passed Senate resolution terminating the national emergency the President declared in Executive

Order 14193 regarding fentanyl from Canada; currently held in the House). The Court should let

the political process resolve these political questions.

        Plaintiffs hinge their argument that a trade deficit cannot constitute an “unusual and

extraordinary threat” under IEEPA on the premise that the trade deficit is not “rare and brief,”

but instead a persistent state of affairs. Mot. 22. But “unusual and extraordinary” threats need

not be short-lived—and, regrettably, are often persistent, as demonstrated in the discussion of

other persistent IEEPA emergencies in ECF No. 27 at 17-20. Indeed, the 2001 Executive Order,

which declared a national emergency with respect to export control regulations and is still active,

did no more than extend the provisions of an expiring law that had been enacted in 1979.

Executive Order 13222, Continuation of Export Control Regulations, 66 Fed. Reg. 44,025 (Aug.

22, 2001). 9




9
  Notably, Executive Order 13222 also regulated commerce with foreign nations, relying on
IEEPA “to exercise the necessary vigilance over exports and activities affecting the national
security” and “to protect the domestic economy from the excessive drain of scarce materials[.]”
Executive Order 13222, 66 Fed. Reg. at 44,025. This shows that these executive orders are not
the first time that the President has used IEEPA to regulate commerce to protect the domestic
economy.


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       Nor should the Court countenance plaintiffs’ claim that the “worldwide” nature of some

of the tariffs affects the nature of the emergency, or the means of addressing it. Mot. 4.

Presidents have frequently issued Executive Orders to address emergencies that—rather than

targeting specific countries or regions—have worldwide effect. See, e.g., Continuation of the

National Emergency with Respect to Export Control Regulations (applying worldwide);

Executive Order 14059, Imposing Sanctions on Foreign Persons Involved in the Global Illicit

Drug Trade, 86 Fed. Reg. 71,549 (Dec. 17, 2021) (declaring national emergency with respect to

trafficking of fentanyl and other opioids, applied on a worldwide basis); Continuation of the

National Emergency With Respect to Transnational Criminal Organizations, 89 Fed. Reg.

58,617 (July 18, 2024) (continuing national emergency with respect to transnational criminal

activity, applied on a worldwide basis). Those national emergencies have vastly varied in nature,

length, and breadth. But the through-line is that courts are, as they must be, “hesitant to review

the executive’s declaration of a national emergency.” Shih, 73 F.4th at 1092.

       At the very least, there has been no “clear misconstruction of” the “unusual and

extraordinary threat” language in IEEPA. See USP Holdings, 36 F.4th at 1369. “Unusual and

extraordinary threats” are those beyond what is common. See Extraordinary, Black’s Law

Dictionary (12th ed. 2024) (“Beyond what is usual, customary, regular, or common”); Unusual,

Black’s Law Dictionary (12th ed. 2024) (“Different from what is reasonably expected.”). Trade

deficits are not new, but the United States’s trade deficit has increased by 40 percent over the last

five years. The scope and gravity of the trade deficit and trade barriers—along with the acuity of

their effects—built up over time, constitute the unusual and extraordinary threat. See Executive

Order 14257, 90 Fed. Reg. at 15,044-45; Yoshida, 526 F.2d 560 (at no point reviewing the

President’s declared emergency, even where the balance of payments deficit had existed for




                                                 35
many years); Executive Order 13818 (“the prevalence and severity of human rights abuse and

corruption … have reached such scope and gravity that they threaten the stability of international

political and economic systems”); Executive Order 12532 (South Africa’s longstanding “policy

and practice of apartheid”); Executive Order 14078 (“hostage-taking and the wrongful detention

of United States nationals abroad”); Executive Orders 12868, 12930, 12938 (“the proliferation of

nuclear, biological, and chemical weapons”).

       B.      There Is A Reasonable Relationship Between The Emergency And The
               Tariffs Imposed
       Just as the existence of a national emergency is a political question, so too is the

President’s chosen means for addressing such an emergency. As the Supreme Court recently

reiterated, “[w]hether the President’s chosen method of addressing perceived risks is justified

from a policy perspective is irrelevant to the scope of his authority.” Hawaii, 585 U.S. at 686

(cleaned up); see Michael Simon Design, Inc. v. United States, 609 F.3d 1335, 1342-44 (Fed. Cir.

2010) (use of “may” in statutory authorization to the President meant that “the President’s

exercise of his discretion is not subject to judicial review,” even when it involves consideration

of “the nation’s economic interests”). In the area of national security and foreign affairs, “the

impact of certain conduct” can be “difficult to assess,” making “the lack of competence on the

part of the courts … marked.” Holder v. Humanitarian L. Project, 561 U.S. 1, 34 (2010). Just as

with the emergency declaration, and the closely tied assessment of whether there is an unusual

and extraordinary threat, the President’s selection of the means to address the emergency “is a

‘multifaceted judgmental decision,’ for which there is ‘no law to apply.’” Florsheim, 744 F.2d at

796; see, e.g., El-Shifa, 607 F.3d at 843 (concluding that “the strategic choices directing the

nation’s foreign affairs are constitutionally committed to the political branches reflects the




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institutional limitations of the judiciary and the lack of manageable standards to channel any

judicial inquiry into these matters”).

       Just like the previous questions, attempting to review whether the President’s chosen

means sufficiently “deal with” the emergency “would require the Court to closely scrutinize and

second guess the President’s foreign policy decision-making,” including the President’s “goals,”

“the nature of the emergency,” and “the effectiveness of” the President’s action in “counter[ing]

the threat.” Htet v. Trump, 2025 WL 522033, at *5-7 (D.D.C. Feb. 18, 2025). Such an inquiry

“would require the Court to step into the shoes of political decision makers,” “would not be legal

in nature,” and has “no judicial standards,” meaning whether the President’s chosen means deals

with the emergency is “a nonjusticiable political question.” Id. Section 232 precedent confirms

as much. There, as here, “there is no review of the President’s pertinent factual and remedial-

appropriateness determinations.” PrimeSource, 59 F.4th at 1263 (the court “may not second-

guess the facts found and measures taken by the President to support his adjustment”).

       If there were to be any review in this area, it must be only to determine whether the

President’s chosen means are reasonably related to the national emergency. Yoshida, 526 F.2d at

578; Spawr, 685 F.2d at 1081 (assessing whether the President’s action is “rationally related to

the national emergencies invoked”). The President’s chosen means reasonably “deal with” the

national emergencies.

       As to the trade deficit, the imposed tariffs have a “direct effect” on the United States’

trade deficit, Yoshida, 526 F.2d at 580, and on improving this nation’s “domestic production

capacity,” “military readiness,” and “national security posture,” Executive Order 14257, 90 Fed.

Reg. at 15,044-45. As a result, the tariffs are “‘plausibly related to the Government’s stated

objective to protect’ national security” and increase domestic production. Transpacific Steel




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LLC v. United States, 4 F.4th 1306, 1333-34 (Fed. Cir. 2021) (rejecting the contention that

differing tariff rates between countries was irrational, explaining that “it is rational for the

President to try a steep increase on tariffs for only one major exporter to see if that strategy helps

to achieve the legitimate objective of improve domestic capacity utilization without extending

the increase more widely” (quoting Hawaii, 585 U.S. at 704-05)); Yoshida, 526 F.2d at 580.

        In response, plaintiffs point to a selection of economist advocates to opine on the wisdom

and effectiveness of the President’s tariffs. Mot. 34-35. Their contrary views, however, are

immaterial. And plaintiffs ignore the evidence that supports the President. In 2023, the

International Trade Commission issued a report analyzing the effects of the President’s previous

tariffs, imposed under Sections 232 and 301, on more than $300 billion of U.S. imports.

Economic Impact of Section 232 and 301 Tariffs on U.S. Industries, Inv. No. 332-591, USITC

Pub. No. 5405 (May 2023). This analysis revealed that the tariffs reduced imports from China,

were effective in stimulating increased U.S. production of steel and aluminum, and had very

minor effects on U.S. prices. Id. at 21-22. Further, the Coalition for a Prosperous America

released an economic model simulating a worldwide 10 percent tariff on U.S. imports and found

that the “tariff makes imports less competitive and domestic production of manufactured and

other goods rise to take advantage of the opportunities” leading to “more jobs and more capital

investment.” Jeff Ferry, Global 10% Tariffs on U.S. Imports Would Raise Incomes and Pay for

Large Income Tax Cuts For Lower/Middle Class, Coalition for a Prosperous America (July 24,

2024), https://perma.cc/XUZ8-BG99. Indeed, the tariffs are already beginning to address the

national emergencies, as the extensive ongoing negotiations with many countries and the

recently announced historic trade deal with the U.K. show. See Fact Sheet: U.S.–U.K. Reach

Historic Trade Deal (May 8, 2025), https://perma.cc/7CPW-8CF2.




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       As to the illicit-drugs crisis, the President’s actions are reasonably related to the desired

change in behavior the President seeks from Mexico, Canada, and China because the President’s

actions pressure those countries to address the crisis. The tariffs imposed on China, Canada, and

Mexico have fostered ongoing negotiations to address the country-specific emergencies. In

response to the President’s action, the Governments of Canada and Mexico, for instance, took

“immediate steps designed to alleviate the illegal migration and illicit drug crisis through

cooperative actions” in response to tariffs. See Executive Order 14198, Progress on the

Situation at Our Southern Border, 90 Fed. Reg. 9,185 (Feb. 10, 2025); Executive Order 14197,

Progress on the Situation at Our Northern Border, 90 Fed. Reg. 9,183 (Feb. 3, 2025); but see

Executive Order 14228, 90 Fed. Reg. 11,463 (Mar. 3, 2025) (“I have determined that [China] has

not taken adequate steps to alleviate the illicit drug crisis” and increasing the tariffs). And

recently, China agreed to work with the United States to address illegal fentanyl distribution into

the United States. See https://perma.cc/U7TZ-LLZR.

       Plaintiffs argue that imposing tariffs to address the illicit-drug crisis makes no sense

because “drug traffickers will not pay tariffs on the drugs that they illegally smuggle into this

country.” Mot. 25. But again, these tariffs are reasonably related to the desired change in

behavior the President seeks from Mexico, Canada, and China because they pressure those

countries to address the crisis. In any event, the President found that illicit drugs entered the

United States through both illegal networks and through traditional import systems. See, e.g.,

Executive Order 14256 (“Many shippers based in the People’s Republic of China (PRC) hide

illicit substances and conceal the true contents of shipments sent to the United States through

deceptive shipping practices.”); Executive Order 14193 (“[t]he flow of illicit drugs like fentanyl

to the United States [occurred] through both illicit distribution networks and international mail”).




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The President’s action not only incentivizes the countries to address the emergency but also

deters importation of illicit drugs concealed within seemingly lawful imports.

       Plaintiffs also fault the action because the tariffs apply to more than just imports of illicit

drugs. Mot. 26. Of course they do. If the United States identified that an import contained

illegal drugs, the article would not be imported at all. The President’s action rationally

disincentivizes importing illicit drugs with otherwise lawful imports. In sum, the Court should

not insert itself into the President’s complex, sensitive judgments about foreign affairs, national

security, and economic policy. The only question, if the Court finds it can address the question

at all, is whether the challenged tariffs are reasonably related to the declared emergencies. There

is no serious dispute here that they are.

III.   Plaintiffs’ APA Claims Lack Merit

       Plaintiffs raise Administrative Procedure Act (APA) claims against U.S. Customs and

Border Protection (CBP), alleging that it acted arbitrarily and capriciously and in excess of

statutory authority. Mot. 27-29. But CBP’s action is not subject to APA review because CBP

did not exercise any independent discretion but rather acted ministerially in implementing the

IEEPA duties set by the President—meaning plaintiffs do not challenge agency action; rather,

they challenge the action of the President in directing CBP. See Indus. Chems., Inc. v. United

States, 941 F.3d 1368, 1371 (Fed. Cir. 2019) (dismissing when CBP is acting in a “merely

ministerial” capacity). As a result, the APA is unavailable to challenge these tariffs because the

President is not an “agency” within the meaning of the APA. Franklin v. Massachusetts, 505

U.S. 788, 800-01 (1992); see Dalton v. Specter, 511 U.S. 462, 474 (1992) (“We may assume for

the sake of argument that some claims that the President has violated a statutory mandate are

reviewable outside the framework of the APA.… But longstanding authority holds that such




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review is not available when the statute in question commits the decision to the discretion of the

President.” (citation omitted)). Rather, the proper channel to challenge the IEEPA tariffs is

through 28 U.S.C. §1581(i), as plaintiffs have in this case.

         The cases cited by plaintiffs are inapplicable here, because in each, the agency had some

non-ministerial role to play in the decisionmaking process. See, e.g., State v. Su, 121 F.4th 1, 4

(9th Cir. 2024) (agency implemented notice and comment and issued rule); In re Section 301

Cases, 570 F.Supp.3d 1306, 1324 (Ct. Int’l Trade 2022) (statutory authority was delegated to the

agency, not the President). In any event, even assuming APA review applies, CBP’s actions

were within statutory authority and not arbitrary and capricious for the same reasons discussed

above in regard to the President.

IV.      Plaintiffs Are Not Entitled To An Injunction

         “According to well-established principles of equity, a plaintiff seeking a permanent

injunction must satisfy a four-factor test before a court may grant such relief.” eBay Inc., 547

U.S. at 391. “A plaintiff must demonstrate: (1) that it has suffered an irreparable injury; (2) that

remedies available at law, such as monetary damages, are inadequate to compensate for that

injury; (3) that, considering the balance of hardships between the plaintiff and defendant, a

remedy in equity is warranted; and (4) that the public interest would not be disserved by a

permanent injunction.” Id. Similar considerations apply to motions for preliminary injunctive

relief. See Winter, 555 U.S. at 24.

      A. Plaintiffs Cannot Establish The Likelihood Of Immediate, Irreparable Harm

         Plaintiffs are not entitled to injunctive relief because they cannot show they “will be

immediately and irreparably injured” before the Court can decide the case on the merits.

Asociacion Colombiana de Exportadores de Flores v. United States, 717 F.Supp. 847, 851 (Ct.

Int’l Trade 1989). As the Federal Circuit has explained, an injunction “will not issue simply to


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prevent a mere possibility of injury…. A presently existing, actual threat must be shown.”

Zenith Radio Corp. v. United States, 710 F.2d 806, 809 (Fed. Cir. 1983). Put another way, “[a]

movant must show that the harm is certain to occur and that it is a direct result of the action it is

challenging.” Retractable Techs., Inc. v. United States, 739 F.Supp.3d 1330, 1340 (Ct. Int’l

Trade 2024) (citation omitted). Plaintiffs cannot show that they will experience irreparable harm

while the Court considers their simultaneous motion for summary judgment, especially given the

highly expedited briefing of that motion.

       First, it appears that most plaintiffs have not actually paid additional duties pursuant to

the Executive Orders. See generally ECF Nos. 14-2 through 14-14. Nor have these plaintiffs

established that they will imminently be required to do so. Only University of Oregon alleges to

be an importer of record, see Compl. ¶¶ 95-97; Mot. 8, 30; Shabram Decl. (ECF 14-11). And

from the information plaintiffs provided, the only other entities we have identified that have

entered IEEPA duties are Oregon State University, Oregon Health and Sciences University,

Arizona States University, and Colorado State University. Plaintiffs’ failure to establish

immediacy defeats their claim of irreparable harm. And even if plaintiffs risked immediate

liability for duties, any such payments, including those paid by the state universities, could be

recovered if plaintiffs prevail in this litigation. See Joint Proposed Stipulation, Auxin Solar, Inc.

v. United States, Ct. Int’l Trade No. 23-274, ECF No. 19.

       Second, plaintiffs allege that they are suffering irreparable harm by “paying more for

goods, equipment and services where third parties must pay the tariffs.” Mot. 31. As discussed

above, non-importer plaintiffs lack standing for their claims of economic harm, meaning such

injuries cannot be considered in the injunctive factors analysis. See Totes-Isotoner Corp., 594

F.3d at 1352.




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       Third, even if some plaintiffs would soon be liable for duties or other cost harms pursuant

to the Executive Orders, the speculative statements in their declarations show only the possibility

of future economic loss, which this Court has held is insufficient to show irreparable harm—far

short of a real risk of immediate extinction required to justify a preliminary injunction. See, e.g.,

Corus Grp. PLC v. Bush, 217 F.Supp.2d 1347, 1355 (Ct. Int’l Trade 2002) (concluding that the

plaintiff had failed to establish irreparable harm because there was no evidence the plant was “in

danger of imminent closure” despite testimony that “sound business principles would require

[the company] to close the plant rather than operate at a loss”); Shandong Huarong General Grp.

v. United States, 122 F.Supp.2d 143, 147 (Ct. Int’l Trade 2000) (similar). As explained in Corus,

“[e]very increase in duty rate will necessarily have an adverse effect on foreign producers and

importers,” but if “the court were to find irreparable harm under these facts, the court would

likely be required to do so in any challenge to a duty increase because every plaintiff could argue

that increased tariffs would cause revenue shortfalls possibly resulting in either operating at a

loss or plant closure at some future date.” 217 F.Supp.2d at 1355. Thus, the mere threat of an

“adverse economic impact,” such as states paying more for goods and services or uncertainty in

their budgeting, Mot. 29-24, cannot establish irreparable harm because it would “effectively

create a per se irreparable harm rule in similar challenges—a result likely contrary to the

extraordinary nature of the remedy.” Id. 10

       Finally, plaintiffs fail to explain how monetary compensation would be inadequate. For

plaintiffs that will actually pay tariffs, were they to ultimately prevail, they could receive back

any duties or tariffs they paid on any unliquidated entries. 28 U.S.C. §§2643-44.




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  Plaintiffs’ claims of procedural harm fail because IEEPA does not provide any mechanism for
notice and comment, and the President followed all procedural requirements.


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   B. The Remaining Preliminary Injunction Factors Do Not Favor Plaintiffs

       The remaining factors—the balance of hardships and the public interest, which “merge

when the Government is the opposing party,” Nken v. Holder, 556 U.S. 418, 435 (2009),

likewise favor the government. It is not in the public’s interest for the President’s response to a

national emergency and exercise of foreign-affairs powers to be enjoined; nor does the balance

of hardships favor plaintiffs.

       Plaintiffs’ purported irreparable harm is far outweighed by the public interest in

maintaining the challenged executive actions. The President has declared a national emergency

in light of threats to the United States’ economy, military preparedness, and national security. In

these circumstances, the NEA and IEEPA authorize the President to take all appropriate and

feasible action to address this emergency. The equities and public interest lie there, not with

plaintiffs. See Winter, 555 U.S. at 24.

       As for the balance of hardships, plaintiffs’ proposed injunction would be an enormous

intrusion on the President’s conduct of foreign affairs and efforts to protect national security

under IEEPA and the Constitution. See U.S. Const. art. II, §2. This is particularly so given that

the United States is currently in sensitive trade negotiations with a multitude of countries—

discussions that would grind to a halt should a preliminary injunction issue. See Executive Order

14266 (discussing negotiations). Plaintiffs’ request to import merchandise without paying the

applicable tariffs would undermine the President’s goals, and the requested injunction would

weaken the country’s position in negotiations. The balance of hardships favors the Government.

       C.      Any Injunction Should Be Limited Only To Plaintiffs With Standing And
               Irreparable Harm
       If this Court were to issue an injunction, its order must be limited in scope to the importer

plaintiffs who have paid IEEPA duties, such as the University of Oregon, and should be limited



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to the specific countries plaintiffs have identified. Injunctive relief must be narrowly tailored

and limited to the harm shown. See Gemveto Jewelry Co. v. Jeff Cooper Inc., 800 F.2d 256, 259

(Fed. Cir. 1986). Moreover, nationwide injunctions are available only in “exceptional cases.”

San Francisco v. Trump, 897 F.3d 1225, 1244 (9th Cir. 2018); see Florida, 19 F.4th at 1282

(appropriate circumstances for issuing a nationwide injunction “are rare”); City of Chicago v.

Barr, 961 F.3d 882, 916 (7th Cir. 2020) (“[S]uch injunctions present real dangers, and will be

appropriate only in rare circumstances.”). Here, plaintiffs cannot show why a preliminary

injunction is necessary at all, let alone a nationwide one. Certainly, they cannot show that they

will be deprived of complete relief without a nationwide injunction. Cf. Florida, 19 F.4th at

1281.

        If the Court determines a preliminary injunction is appropriate, it should order plaintiffs

to quantify their harm and post a bond in that amount. USCIT R. 65(c) (requiring “the movant

[to] give[] security in an amount that the court considers proper to pay the costs and damages

sustained by any party found to have been wrongfully enjoined or restrained.”).

        Finally, any injunction should be stayed pending appeal. As discussed, the United States

is currently engaged in ongoing negotiations with many countries, to resolve the issues giving

rise to the national emergency. See Executive Order 14266 (discussing negotiations); Executive

Order of May 12, 2025, Modifying Reciprocal Tariff Rates To Reflect Discussions With The

People’s Republic of China, https://perma.cc/FL69-4TJY. A stay pending appeal will prevent

those discussions from being interrupted while this case is further litigated.

                                         CONCLUSION

        For these reasons, the Court should deny plaintiffs’ motions for a preliminary injunction

and summary judgment and enter judgment in favor of defendants.




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DATED: May 16, 2025               Respectfully submitted,

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                              CERTIFICATE OF COMPLIANCE

       I hereby certify, pursuant to section 2(B)(1) of the Standard Chambers Procedures of this

Court and this Court’s April 22, 2025 order, that this brief contains 13,866 words, excluding the

table of contents, table of authorities, any addendum containing statutes, rules or regulations, any

certificates of counsel, and counsel’s signature, as calculated by the word processing system used

to prepare this brief (Microsoft Word).


                                           /s/ Sosun Bae
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